
Per Curiam.
Affirmed. See Hart v. State , 246 So.3d 417 (Fla. 4th DCA 2018) (en banc); Seays v. State , 253 So.3d 21 (Fla. 4th DCA 2018). We again certify conflict with Cuevas v. State , 241 So.3d 947 (Fla. 2d DCA 2018) ; Blount v. State , 238 So.3d 913 (Fla. 2d DCA 2018) ; Mosier v. State , 235 So.3d 957 (Fla. 2d DCA 2017) ; Alfaro v. State , 233 So.3d 515, 516 (Fla. 2d DCA 2017) ; and Burrows v. State , 219 So.3d 910, 911 (Fla. 5th DCA 2017).
Warner, Forst and Klingensmith, JJ., concur.
